

Woodward v New York City (2023 NY Slip Op 03216)





Woodward v New York City


2023 NY Slip Op 03216


Decided on June 13, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 13, 2023

Before: Oing, J.P., Singh, Moulton, Scarpulla, Shulman, JJ. 


Index No. 3384/21 Appeal No. 449 Case No. 2022-03870 

[*1]Shakeya Woodward, Plaintiff-Appellant,
vNew York City et al., Defendants-Respondents.


Shakeya Woodward, appellant pro se.
Brownell Partners, PLLC, New York (Chelsea A. Kearney of counsel), for respondents.



Appeal from order, Supreme Court, Bronx County (Mary Ann Brigantti, J.), entered on or about April 28, 2022, which granted defendants' motion to dismiss the complaint as against them, unanimously dismissed, without costs, for failure to perfect the appeal in the proper manner.
The appeal from the order is dismissed because plaintiff failed to file a proper appellate record. Plaintiff failed to include the underlying motion to dismiss, her opposition to that motion, and the exhibits annexed to the parties' submissions (see CPLR 5526; Quezada v Mensch Mgt. Inc., 89 AD3d 647 [1st Dept 2011]). Without the benefit of a proper record, meaningful review of this matter is impossible given that Supreme Court granted the motion based in part on the documentary evidence annexed
to the parties' submissions (see UBS Sec. LLC v Red Zone LLC, 77 AD3d 575, 579[1st Dept 2010], lv denied 17 NY3d 706 [2011]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 13, 2023








